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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                        Plaintiff,


                        vs.                               Case No. 07-10143-03-JTM


 CLINTON KNIGHT,
 a/k/a “Tone”
                        Defendant.




                                             ORDER

       Presently before the Court is defendant Clinton Knight’s motion for bond (second motion

for reconsideration) (Dkt. No. 120). This court conducted a hearing on the matter and indicated

that it would release him, subject to careful consideration of proposed bond conditions. After

carefully considering Knight’s request, this court grants the motion, subject to the conditions

detailed below.

                                     Procedural Background

       Knight is one of several defendants charged in a multi-count superceding indictment in

which the government alleges numerous RICO violations (Dkt. No. 97). Knight was arrested at

the end of July 2007, and continually been in detention since that date. In November 2007, this

case was declared complex due to the intricacies involved. (Dkt. No. 80). Knight’s current




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motion asks this court to review, for the second time, the decision of a magistrate judge in this

district in which he was ordered to remain in custody.

                                         Legal Standard

       Pursuant to 18 U.S.C. § 3145(b), a person who has been ordered detained by a magistrate

judge may file a motion for revocation or amendment of that order. The district court’s employs

a de novo review of the magistrate judge’s order in such cases, meaning that it decides both the

facts and the propriety of detention anew. United States v. Lutz, 207 F. Supp. 2d 1247, 1251 (D.

Kan. 2002).

       The Bail Reform Act of 1984, 18 U.S.C. § 3141 et seq., provides the necessary legal

framework for considering Knight’s motion. Absent a presumption to the contrary, the court

must allow for the pretrial release of a defendant unless it “finds that no condition or combination

of conditions will reasonably assure the appearance of the person as required and the safety of

any other person and community.” 18 U.S.C. § 3142(b),(c), and (e). The burden is on the

government to prove the risk of flight by a preponderance of the evidence, and must further prove

the dangerousness to any other person or the community be clear and convincing evidence.

United States v. Burks, 141 F. Supp. 2d 1283, 1286 (D. Kan. 2001). When making the

determination, the court is to consider the following four factors: (1) the nature and

circumstances of the offense, including whether the offense is a crime of violence or involves a

narcotic drug; (2) the weight of the evidence; (3) the history and characteristics of the person; and

(4) the nature and seriousness of the danger to any person or the community posed by a release

on conditions. 18 U.S.C. § 3142(g).




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                                              Analysis

        The court is concerned that Knight has been in custody for almost an entire year

without resolution of his case. Further, the court notes that after a search warrant was

executed on Knight’s house, he was not arrested for almost 90 days, which somewhat refutes

the government’s argument that he is a danger to the community. Additionally, Knight has

a family at home, and a job waiting. Accordingly, this court is going to give Knight a chance

to prove that he can comply with the court’s order, and allow his bond, subject to the

conditions which are detailed in the accompanying order setting conditions of release.

        Any violation, whatsoever, of any of the conditions detailed in the order or release will

result in the immediate revocation of Knight’s bond, and his chance for re-release would be

virtually zero.

        Finally, it has been brought to the court’s attention that Mr. Knight’s wife indicated that

she needs the internet at her home for doing homework for school. The court will allow the

internet to remain at the Knight home, although the family must keep a phone line open at all

times. Thus, if access to the internet is dial-up, the Knight family must get a second phone line

allowing immediate telephone contact with Mr. Knight at all times.

        For all the reasons set forth above, Knight’s Motion for review of order of detention (Dkt.

No. 120) is granted, and defendant shall be released, subject to the conditions detailed in the

accompanying document.

        IT IS SO ORDERED this 13th day of May, 2008.


                                                      s/ J. Thomas Marten
                                                      J. THOMAS MARTEN, JUDGE


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